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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


 VICTORIA HEWITT,

              Plaintiff,

 v.                                              Case No. 2:17-cv-10917-MFL-RSW
                                                 Honorable Matthew F. Leitman
 RUTHIE McCRARY, M.D.,
 ALLURE MEDICAL SPA, PLLC,
 a Michigan Corporation,

               Defendants.
 __________________________________________________________________________________________

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  DEFENDANT ALLURE MEDICAL SPA, PLLC’S ANSWER TO PLAINTIFF’S
   MOTION TO REVISE OR STRIKE ORDER PURSUANT TO RULE 54(b)
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          COUNTER-STATEMENT OF THE QUESTION PRESENTED

                                       I.

            SHOULD PLAINTIFF’S MOTION TO STRIKE OR REVISE
            THE JUNE 29, 2018 STIPULATED ORDER OF
            DISMISSAL WITH PREJUDICE OF DEFENDANT DR.
            MCCRARY BE DENIED, WHERE PLAINTIFF’S MOTION,
            FILED AT THE INSTRUCTION AND INVITATION OF
            THE COURT, DOES NOT EVEN COME CLOSE TO
            SATISFYING THAT MANIFEST INJUSTICE WOULD
            RESULT IF THE ORDER WHICH PLAINTIFF
            EXPRESSLY AND VOLUNTARILY AGREED TO
            REMAINS IN PLACE?

            Defendant Allure Medical Spa, PLLC, answers “yes.”

            Defendant Ruthie McCrary, M.D., presumably answers
            “yes” but has not directly addressed this question.

            Plaintiff Victoria Hewitt answers “no.”




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                       MOST CONTROLLING AUTHORITY

       Pursuant to E.D. Mich L.R. 7.1(b), the controlling and most appropriate

 authority for the relief sought is:

       Fed. R. Civ. P. 54

       GenCorp, Inc. v. Am. Int’l Underwriters, 178 F.3d 804 (6th Cir. 1999)

       Hollis v. Dump Cable, Inc., 2014 WL 12526725, at *2 (W.D. Tenn. Aug. 12,
       2014)




                                         v
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     COUNTER-STATEMENT OF MATERIAL FACTS AND PROCEEDINGS

       Plaintiff alleges that Defendant Allure Medical Spa, PLLC (“Allure”) is

 vicariously liable for the purported negligence of Dr. McCrary in connection

 with a breast augmentation that Dr. McCrary performed at Allure on March 4,

 2015. (R.E. 1, Complaint, Page ID # 1-11). On June 29, 2018, after Plaintiff and

 Dr. McCrary reached a settlement and entered into a Covenant Not to Sue, this

 Court entered a Stipulated Order dismissing Dr. McCrary, only, “with

 prejudice.” (R.E. 28, Stipulated Order for Dismissal with Prejudice of Ruthie

 McCrary, M.D., Only, Page ID # 461-462) (Exhibit A). Plaintiff’s attorney,

 Ronald K. Weiner, provided his consent to the stipulated order prior to the

 time it was presented to and entered by this Court. (Id.). Moreover, Plaintiff’s

 counsel was emailed a copy of the stipulated order as it was submitted to the

 Court, prior to the time it was signed by this Court. (Email Correspondence to

 Weiner, 6/29/18).

       The Stipulated Order clearly stated – not once, but twice – that the

 dismissal of Dr. McCrary was “with prejudice”:

       STIPULATED ORDER FOR DISMISSAL WITH PREJUDICE OF
       RUTHIE McCRARY, M.D., ONLY

             This matter having come before the Court upon the
       stipulation of the parties, through their undersigned counsel;



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              IT IS HEREBY ORDERED THAT Defendant RUTHIE
       McCRARY, M.D., only is dismissed with prejudice and without
       costs.

 (R.E. 28) (emphasis added).

       On July 23, 2018, Allure filed a motion for summary judgment, arguing

 that by operation of law, the voluntary dismissal with prejudice of Dr. McCrary

 operates as an adjudication on the merits and requires dismissal of the

 vicarious liability claims against Allure. (R.E. 30, Page ID # 464-486). This

 Court granted Plaintiff’s request for additional time to file her response to

 Allure’s motion for summary judgment. (R.E. 31, Order for Extension of Time

 to Answer Defendant Allure Medical Spa, PLLC’s Motion for Summary

 Judgment, Page ID # 507-508).

       On August 20, 2018, Plaintiff filed a response to Allure’s motion for

 summary judgment, conceding that under controlling law, a dismissal with

 prejudice of Dr. McCrary operates as an adjudication on the merits and

 requires a dismissal of the vicarious liability claims against Allure. (R.E. 32,

 Response to Allure’s Motion for Summary Judgment, Page ID # 509-519).

 However, Plaintiff asserted that “the dismissal order being with prejudice was

 a mistake.” (Id., Page ID # 510). Contemporaneously with her response,

 Plaintiff filed a Motion for Relief from Order pursuant to Fed. R. Civ. P.

 60(b)(1) and MCR 2.612(C)(1), claiming that counsel for co-defendant, Dr.

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 McCrary, “mistakenly drafted” the stipulated order as being “with prejudice”

 and that, under Fed. R. Civ. P. 60(b)(1) and MCR 2.612(C)(1), Plaintiff should

 be entitled to relief from the order her counsel “inadvertently stipulated to[.]”

 (Id., Page ID # 547-548).

       Allure’s response in opposition to Plaintiff’s Motion for Relief from

 Order emphasized that “[n]either carelessness nor ignorance of the law on the

 part of the moving party will justify relief under Fed. R. Civ. P. 60(b)(1).”

 Merriweather v. Wilkinson, 83 Fed. Appx. 62, * 2 (6th Cir. 2003) (citing FHC

 Equities, L.L.C. v. MBL Life Assur. Corp., 188 F.3d 678, 685-687 (6th Cir. 1999)).

 Furthermore, Allure explained that “mistake” and “excusable neglect” have a

 narrow meaning under Rule 60(b), and that the court has repeatedly denied

 Rule 60(b) relief based on similar claims. FHC Equities, L.L.C., 188 F.3d at 685

 (holding that counsel’s stipulation to voluntary dismissal of state claim with

 prejudice, “apparently not realizing that res judicata from the stipulation

 would also bar a federal claim based on the same cause of action[,]” did not

 warrant Rule 60(b) relief “based upon the attorney’s genuine mistaken

 interpretation of the law[.]”).

       This Court held a hearing on Plaintiff’s Motion for Relief from Order and

 Allure’s Motion for Summary Judgment on October 22, 2018. At that hearing,

 Plaintiff’s counsel stated on the record that he read the stipulated order of

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 dismissal with prejudice before he agreed to sign it and understood that it was

 a dismissal with prejudice, but conceded that he was not aware of Al-Shimmari

 v. Detroit Medical Center, 477 Mich. 280; 731 N.W.2d 29 (2007), and that a

 stipulated order of dismissal with prejudice would bar plaintiff from

 proceeding on her vicarious liability claims against the remaining defendant

 medical entity.

         Upon questioning by the Court, Mr. Wulfmeier, counsel for Dr. McCrary,

 confirmed that his routine practice is “to enter an Order for Dismissal with

 Prejudice on behalf of [his] clients when a settlement has been reached.” (R.E.

 37-3, Affidavit of LeRoy Wulfmeier, ¶ 2, Page ID # 623). Mr. Wulfmeier denied

 that it was a “mistake or ‘senior moment’ when preparing and submitting the

 Order for Dismissal of Dr. Ruthie McCrary with prejudice.” (Id., ¶ 3, Page ID #

 623).

         At the conclusion of the October 22, 2018 hearing, the Court noted that

 under controlling federal authority, “[n]either carelessness nor ignorance of

 the law on the part of the moving party will justify relief under Fed. R. Civ. P.

 60(b)(1).” Merriweather v. Wilkinson, 83 Fed. Appx. 62, *2 (6th Cir. 2003),

 citing FHC Equities, LLC v. MBL Life Assur. Corp., 188 F.3d 678, 685-687 (1999).

 Indicating that it had not reached a final decision, the Court invited Plaintiff to

 submit a supplemental brief to point to her “strongest federal authority”

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 demonstrating that it would be appropriate to grant Plaintiff relief from the

 June 29, 2018 Stipulated Order dismissing Dr. McCrary “with prejudice.”

       Consistent with the Court’s invitation, Plaintiff filed a cursory

 supplemental brief. (R.E. 41). Plaintiff’s supplemental brief failed to identify

 any federal case holding that ignorance of the law and/or a misinterpretation

 of the law warranted relief under Fed. R. Civ. P. 60(b)(1). Allure’s response to

 Plaintiff’s supplemental reply (R.E. 42) pointed out this fact, as well as the

 well-settled principle that a mistake made by an attorney “except in unusual

 or extraordinary circumstances not present here” is not the excusable neglect

 to invoke Rule 60(b).      Id. at 546, quoting Airline Pilots in the Service of

 Executive Airlines, Inc. v. Executive Airlines, Inc., 569 F.2d 1174 (1st Cir. 1978).

       The Court held a telephonic status conference on November 29, 2018.

 (Exhibit B, Transcript of 11/29/18, R.E. 44). The purpose of the conference,

 according to the Court, was two-fold: (1) “to update you folks on my thinking

 on the motion that’s pending before me, that the – Mr. Weiner’s motion in

 particular,” and (2) “talk about next steps.” (Id., p. 5, Page ID # 653). The

 Court indicated that it had conducted “post-argument research” and had

 “come to the conclusion that at least as far as I can tell right now, Rule 60(b)

 does not apply to the stipulated order that I entered” because the order did

 not dispose of all the claims of all the parties. (R.E. 44, p. 5, Page ID # 653).

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 Accordingly, the Court stated that its “inclination is to deny the Rule 60(b)(1)

 motion because it’s the wrong rule and it doesn’t apply to the order that I’ve

 entered.” (Id., p. 6, Page ID # 654).

       The Court invited Plaintiff “to file a motion seeking relief from that

 order under Rule 54(b) or any other rule that he thinks applies to that rule

 and to present the strongest case possible citing case law that it’s appropriate

 under these circumstances to vacate that order to prevent a manifest

 injustice.” (Id., p. 7, Page ID # 655).




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                                   ARGUMENT

        PLAINTIFF’S MOTION TO STRIKE OR REVISE THE JUNE 29,
        2018 STIPULATED ORDER OF DISMISSAL WITH PREJUDICE
        OF DEFENDANT DR. MCCRARY SHOULD BE DENIED, WHERE
        PLAINTIFF’S MOTION, FILED AT THE INSTRUCTION OF THE
        COURT, DOES NOT EVEN COME CLOSE TO SATISFYING THAT
        MANIFEST INJUSTICE WOULD RESULT IF THE CURRENT
        ORDER – WHICH PLAINTIFF EXPRESSLY AND VOLUNTARILY
        AGREED TO – REMAINS IN PLACE.

 A.     Federal Rule of Civil Procedure 54(b) is typically used as a vehicle
        to reconsider interlocutory orders entered after the Court’s
        decision on a motion – not on a stipulation.

        At the instruction of this Court, Plaintiff moves for relief under Rule

 54(b), which allows a court to revise an order “adjudicat[ing] fewer than all

 the claims or the rights and liabilities of fewer than all the parties” at any time

 before the entry of a final judgment. Fed. R. Civ. P. 54(b). A movant, to justify

 reconsideration under Rule 54(b), must show that there is either: “(1) an

 intervening change of controlling law; (2) new evidence available; or (3) a

 need     to   correct    a    clear   error     or   prevent manifest injustice.”

 Louisville/Jefferson Cnty. Metro Gov’t v. Holes.com, L.P., 590 F.3d 381, 389 (6th

 Cir. 2009). A motion under Rule 54(b) to reconsider an interlocutory order

 “should not be used to rehash arguments the court has already considered

 merely because the movant is displeased with the outcome.” South Carolina v.

 U.S., 232 F.Supp.3d 785, 793 (D. South Carolina 2017).


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       Plaintiff has not cited one case in which Rule 54(b) was employed to

 revise a stipulated order entered upon approval of the party who now seeks to

 revise or vacate the order. Rule 54(b) has been used to permit motions for

 reconsiderations of interlocutory orders. Rodriguez v. Tennessee Laborers

 Health & Welfare Fund, 89 Fed. Appx. 949, 959 (6th Cir. 2004). Plaintiff,

 apparently cognizant of this fact, argues that “the logic applicable to a motion

 for reconsideration is the same as a motion to modify brought under Rule

 54(b).” (Plaintiff’s Motion, p. 6, n. 3). Plaintiff offers no further analysis on

 this point. But the distinction between a motion for reconsideration and the

 motion Plaintiff files here is a critical one – a motion for reconsideration

 necessarily implicates a ruling by the court which the movant believes to be

 incorrect; here, the Court simply entered the order of dismissal with prejudice

 as it was presented to the Court upon stipulation of Plaintiff and Dr. McCrary.

 There was no decision by the Court of which Plaintiff can complain. Thus,

 while Rule 54(b) does allow for the Court to reconsider an interlocutory

 order, the Rule contemplates an interlocutory order entered after a decision

 by the court. No such decision is at issue here.




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 B.    The stipulated order of dismissal with prejudice does not amount
       to clear error.

       While focusing mostly on manifest injustice (discussed infra), Plaintiff

 summarily argues that “this case involves…a ‘clearly erroneous order[.]’”

 (Plaintiff’s Motion, p. 10). As explained previously, counsel for Dr. McCrary

 routinely obtains dismissals with prejudice for his clients, even when the

 parties enter into a covenant not to sue, and thus the language of the

 stipulated order for dismissal with prejudice was no mistake. (R.E. 37-3,

 Affidavit of LeRoy Wulfmeier, ¶¶ 2-3, Page ID # 623). Yet Plaintiff, throughout

 the instant Motion, repeatedly characterizes Mr. Wulfmeier’s drafting and

 filing of the order of dismissal with prejudice as clearly erroneous. (Plaintiff’s

 Motion, p. 11).

       Notwithstanding Plaintiff’s attempt to shift the blame onto Dr.

 McCrary’s counsel – an unpersuasive tactic Plaintiff has consistently employed

 throughout these proceedings - Rule 54(b) requires a “‘legal error’ that the

 Court itself committed in rendering the prior decision.” Hollis v. Dump Cable,

 Inc., 2014 WL 12526725, at *2 (W.D. Tenn. Aug. 12, 2014) (Exhibit C)

 (emphasis added).      In Hollis, the district court rejected the defendant’s

 contention that counsel’s unilateral mistake justified reconsideration under

 Rule 54(b). The at-issue order in Hollis was the court’s order granting in part


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 the plaintiffs’ motion for partial summary judgment, which was influenced by

 “disregard[ing] the Defendants’ statement of material facts as well as certain

 of Defendants’ responses to the Plaintiffs’ statement of undisputed material

 facts because these contentions relied exclusively on citations to portions of

 Defendant, Ardahji’s deposition that had not been made part of the record.”

 (Id. at *2). In moving to revise or vacate the order, the defendant insisted

 “that its counsel’s ‘oversight…in incorrectly believing that the relevant

 deposition transcripts were properly filed into this Court’s record’ was ‘clear

 error’ within the meaning of Rule 54(b).” (Id.). The Hollis Court flatly rejected

 that argument, holding that an attorney’s unilateral mistake will not afford

 relief under the “clear error” standard of Rule 54(b):

       Dump Cable now insists that its counsel’s “oversight…in
       incorrectly believing that the relevant deposition transcripts were
       properly filed into the court’s record’ was “clear error” within the
       meaning of Rule 54(b). That argument relies on an incorrect
       construction of the term “clear error.” It is not counsel’s unilateral
       mistake which justifies reconsideration under Rule 54(b); rather,
       it is any “legal error” that the Court itself committed in rendering
       the prior decision. See In re Regions Morgan Keegan, 2010 WL
       5464792, at *2 (nothing that Rodriguez’s third prong
       contemplates “a need to correct a clear error of law”)…The filing
       mistake apparently committed by Defendant’s counsel does not
       warrant revision on the basis of “clear error.” (emphasis added)

 Hollis, supra, at *2 (internal citations omitted). Accordingly, Plaintiff counsel’s

 error in failing to appreciate the impact of a dismissal with prejudice of Dr.


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 McCrary, and the claimed error of signing the stipulated order of dismissal

 with prejudice, is not the type of clear error to warrant revision of the order

 under Rule 54(b).

       Indeed, the Seventh Circuit has observed that “[t]o be clearly erroneous,

 a decision must strike [a court] as more than just maybe or probably wrong; it

 must, as one member of this court recently stated during oral argument, strike

 [the court] as wrong with the force of a five-week-old, unrefrigerated dead

 fish.” Parts and Elec. Motors, Inc. v. Sterling Elec., Inc., 866 F.2d 228, 233 (7th

 Cir. 1988). Leaving intact an order which was negotiated for by Plaintiff and

 Dr. McCrary, reviewed by Plaintiff’s counsel prior to submission to the Court,

 and agreed to by Plaintiff’s counsel, hardly satisfies this burden.

 C.    There is no manifest injustice in enforcing an order which
       Plaintiff’s counsel agreed to, particularly where striking or
       vacating the order would deprive Allure of its dismissal of the case
       and would open up Dr. McCrary to a contribution claim.

       Plaintiff next argues that manifest injustice would result if this Court

 does not strike or vacate the stipulated order of dismissal with prejudice.

 Plaintiff’s counsel argues that he never intended to dismiss Plaintiff’s claim

 against Allure and the existing settlement with Dr. McCrary “was never

 intended to fully compensate Plaintiff for her injuries.” (Plaintiff’s Motion, p.




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 11). Thus, Plaintiff claims that “[i]f the order is not revised or struck, Plaintiff

 will be denied an opportunity to be made whole.” (Id., p. 12).

       A manifest injustice does not result merely because a harm may go

 unremedied. Associated Gen. Contractors of Cal., Inc. v. Cal. State. Council of

 Carpenters, 459 U.S. 519, 536; 103 S.Ct. 897; 74 L.Ed.2d 732 (1983) (“[T]he

 judicial remedy cannot encompass every conceivable harm that can be traced

 to alleged wrongdoing.”). Instead, “manifest injustice” must entail more than

 just a clear and certain prejudice to the moving party, but also a result that is

 fundamentally unfair in light of governing law. Slate v. American Broadcasting

 Companies, Inc., 12 F.Supp.3d 30, 35-36 (D.C. 2013). “Manifest injustice” is

 defined as “[a]n error in the trial court that is direct, obvious, and

 observable[.]” Black’s Law Dictionary, Seventh Ed., p 974.

       It necessarily follows that an analysis of manifest injustice must include

 an analysis of the rights of all the parties to the action. Baynes v. AT&T

 Technologies, Inc., 976 F.2d 1370, 1373 (11th Cir. 1992) (“To determine

 whether ‘manifest injustice’ would result, we look at three elements: ‘(a) the

 nature and identity of the parties, (b) the nature of their rights, and (c) the

 nature of the impact of the change in law upon those rights.’”). No manifest

 injustice will be served by the decision to enforce the stipulated order, which

 Plaintiff’s counsel read and agreed to prior to its entry. But it would be

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 manifestly unjust to the remaining two-thirds of the parties in this case to

 vacate or revise the stipulated order of dismissal with prejudice. Allure would

 lose its dismissal of the case, which it is entitled to under Al-Shimmari v.

 Detroit Medical Center, 477 Mich. 280; 731 N.W.2d 29 (2007). And to “undo”

 the agreed-upon dismissal with prejudice would result in manifest injustice to

 Dr. McCrary, who could be subject to a possible indemnity suit by Allure.

       Plaintiff’s counsel could have avoided this entire scenario had he

 researched Michigan law to determine the impact of a dismissal with

 prejudice of the agent on the continued viability of a claim against the alleged

 principal before he agreed to sign the order. Plaintiff counsel’s admitted

 ignorance of the law does not equate to manifest injustice in these

 circumstances. Ciralsky v. CIA, 355 F.3d 661, 665 (D.C. Cir. 2004) (manifest

 injustice “does not exist where…a party could have easily avoided the

 outcome, but instead elected not to act until after a final order had been

 entered.”). Similarly, an attorney’s negligence does not allow this Court to

 vacate an order under the guise of “manifest injustice.” Hollis v. Dump Cable,

 supra, at *2. In rejecting the defendant’s argument that it would be manifestly

 unjust to allow the court’s ruling on the motion for partial summary judgment

 to stand, the Hollis Court’s analysis is particularly insightful:



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       In the exercise of reasonable diligence, Dump Cable’s counsel
       could have discovered this error and supplemented the record at
       any point during the five-week time period between the filing of
       Defendants’ response to the motion and the Court’s ruling on the
       motion, but he did not do so. Justice does not require this Court to
       expend scarce judicial resources to accommodate counsel’s
       negligence.

 (Id.). Similar to the defendant in Hollis, here Plaintiff did not even move this

 Court for relief from the order until nearly one month after Allure filed its

 motion for summary judgment on the basis of the dismissal order.

       The Sixth Circuit has also expressly held it is not manifestly unjust to

 refuse to “fix” a poor strategic decision by counsel. GenCorp, Inc. v. Am. Int’l

 Underwriters, 178 F.3d 804 (6th Cir. 1999).         In GenCorp, a declaratory

 judgment action seeking defense costs and/or indemnification for losses

 incurred as a result of environmental suits, the plaintiff insured, GenCorp,

 attempted to alter or amend a previous judgment to prevent manifest

 injustice.   The Sixth Circuit rejected this argument, finding that manifest

 injustice does not follow from holding a litigant to a commitment which it

 voluntarily entered into and received consideration for:

       Nor can we conceive of any manifest injustice in holding GenCorp to
       a commitment for which it voluntarily entered into and received
       consideration, especially since the changed fact is an event
       GenCorp manufactured after the judgment was entered. A
       decision to reopen this case would subvert the judicial imperative of
       bringing litigation to an end and would serve no need other than to
       correct what has—in hindsight—turned out to be poor strategic

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       decision by GenCorp. See generally Lavespere v. Niagara Machine &
       Tool Works, Inc., 910 F.2d 167, 174 (5th Cir.1990) (noting factors
       district courts should weigh in exercising their considerable
       discretion under Rule 59(e), including the need to bring litigation
       to an end and the need to render just decisions on the basis of all
       the facts).

 GenCorp, 178 F.3d at 834 (emphasis added).               Similarly, here Plaintiff

 voluntarily entered into the dismissal with prejudice of Dr. McCrary after

 reaching a settlement with Dr. McCrary. Plaintiff received money as a result of

 the settlement – and signed a stipulated order of dismissal with prejudice of

 Dr. McCrary as consideration for same. Applying the rationale of the Sixth

 Circuit here, there is no manifest injustice in holding Plaintiff to a commitment

 for which she voluntarily entered into and received consideration – even if, in

 hindsight, it turned out to be a poor strategic decision. (Id.).

       Finally, to afford Plaintiff relief at this stage in the proceedings – where

 Michigan law unequivocally requires summary judgment in Allure’s favor and

 where Dr. McCrary has relied on the expectation that she can no longer be

 sued for malpractice or indemnity – would “upset settled expectations –

 expectations on which a party may reasonably place reliance.” Qwest Servs.

 Corp. v. FCC, 509 F.3d 531, 540 (D.C. Cir. 2007) (interpreting “manifest

 injustice in context of retroactive FCC ruling”).




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 D.    Plaintiff’s cited case law is unpersuasive.

       Despite this Court’s directive that Plaintiff “present the strongest case

 possible citing case law that it’s appropriate under these circumstances to

 vacate that order to prevent a manifest injustice[,]” (R.E. 44, p. 7, Page ID #

 655), Plaintiff discusses only two non-precedential opinions, Marbury Law

 Group, PLLC v Carl, 729 F.Supp.2d 78 (D.C. Cir. 2010), and Every v. Brennan,

 2018 WL 4568600 (E.D. Tenn. 9/24/2018), which are not analogous to the

 circumstances presented here. Even assuming that this Court was bound by

 these opinions1, they in no way demonstrate that manifest injustice would

 result to Plaintiff if the stipulated order of dismissal with prejudice were left

 intact. In fact, these decisions support Allure’s position. In Marbury, the

 defendant/counter-plaintiff timely prepared and attempted to file an

 opposition to the plaintiff’s motion to dismiss as required, but the brief was

 mistakenly delivered to the wrong court “through no apparent fault of Carl’s.”

 (Id. at 83). The Marbury Court also found important the facts that “Carl sought

 to remedy this error as soon as it came to his attention” and that Marbury did

 not oppose Carl’s request for reconsideration. (Id.). On that specific set of


 1This Court is not bound by decisions of Courts of Appeals for other circuits.
 Hall v. Eichenlaub, 559 F.Supp.2d 777, 782 (E.D. Mich. 2008). Moreover,
 Marbury was decided under Fed. R. Civ. P. 59(e), not Rule 54(b) under which
 Plaintiff’s instant Motion is based. Marbury, 729 F.Supp.2d at 82.
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 facts, the court exercised its discretion to find that reconsideration of the prior

 opinion was necessary in order to prevent a manifest injustice.

       Here, in stark contrast, we have a litigant (Plaintiff) who is solely at fault

 (though her counsel) for the situation she now finds herself in; while

 Plaintiff’s counsel argues again and again that he “did not draft the order[,]”

 the order was not incorrectly drafted by Dr. McCrary’s counsel and,

 regardless, Plaintiff’s counsel read and agreed to the language of the order

 prior to its submission to this Court. Moreover, unlike Carl, who moved to

 remedy the error as soon as it came to his attention, Plaintiff’s counsel was

 aware of the impact of the order as-entered as early as July 23, 2018, when

 Allure filed its motion for summary judgment, yet waited nearly an entire

 month (until August 20, 2018) before filing a motion for relief from the order.

 (R.E. 33). Finally, unlike the plaintiff in Marbury, who did not oppose Carl’s

 request for reconsideration, here both Allure and Dr. McCrary oppose

 Plaintiff’s request to amend the order to be a dismissal of Dr. McCrary without

 prejudice. Marbury thus commands a denial of Plaintiff’s motion.

       Plaintiff’s citation to Every v. Brennan fares no better. The relevant issue

 in Every was whether the defendants’ argument that “all the claims…arise

 from the employment relationship” and thus should be preempted by Title

 VII” should be interpreted to include, as defendants argued, two state law

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 claims for intentional and negligent infliction of emotional distress, even

 though the defendant did not directly address the state law claims in their

 original briefing, or whether the defendants were raising a new legal theory

 for the first time. 2018 WL 4568600 at *3. The Every Court determined that

 while defendants’ position “was not clearly made, in fairness, the Court deems

 it to be an extension of the previous arguments, i.e., plaintiff’s state law claims

 are also precluded by Title VII just as her constitutional claims are.” (Id.)

 (emphasis in original). In so ruling, the Every Court did not detail whether it

 would be manifestly unjust to deny the defendants’ requested relief. But in

 any event, the issue of whether a position taken by a litigant is broad enough

 to extend to other claims is completely different than the issue of whether a

 plaintiff can escape a commitment she voluntarily agreed to and received

 consideration for.     Accordingly, Plaintiff’s citation to Every in no way

 demonstrates that Plaintiff is entitled to the relief sought in her most recent

 motion.    And Plaintiff’s citation to Every as “illustrative” highlights the

 weakness of Plaintiff’s position.




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                                     CONCLUSION

         WHEREFORE, Defendant, Allure Medical Spa, PLLC, respectfully

 requests that this Honorable Court deny Plaintiff’s Motion to Revise or Strike

 Order Pursuant to Rule 54(b) and issue all other relief to Defendant which is

 proper in law and equity.

                                                Respectfully submitted,

                                                PLUNKETT      COONEY

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 Dated: February 6, 2019


                               CERTIFICATE OF SERVICE

       The undersigned certifies that a copy of the foregoing instrument was
 served upon all parties to the above cause to each of the attorneys of record
 on February 6, 2019 by ECF, and that a copy has been mailed by United States
 Mail, with all postage prepaid, to any parties that are not ECF participants.

                               _____/s/ Debra L. Vogt_____
                                      Debra L. Vogt




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